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                         NITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

********************************** )
PATRICIA ARUDA                     )
JILLIAN ARUDA and                  )
JESSICA ARUDA                      )
      Plaintiffs                   )
                                   )
v.                                 )                 CIVIL ACTION
                                   )                 NO. 1:16-CV-11811
TOYOTA MOTOR CREDIT CORP. and )
EVERGREEN AUTO RECOVERY, INC., )
      Defendants                   )
**********************************

                           STIPULATION OF DISMISSAL

       Now comes Patricia Aruda, Jillian P. Aruda, and Jessica Aruda as the Trustee of

the Fawn Lane Realty Trust; the Plaintiffs, and Toyota Motor Credit Corporation and

Evergreen Auto Recovery Inc., the Defendants each by and through their respective

counsel, hereby hereby stipulate pursuant to Rule 41(a)(1)(ii) of the Federal Rules of

Civil Procedure that the above-captioned action is dismissed, with prejudice.

Dated: December 7, 2016                  Respectfully Submitted
                                         Patricia Aruda, Jillian Aruda and Jessica Aruda
                                         By their attorney,

                                         / s / Patrick M. Culhane___________
                                         Patrick M. Culhane, Esq.
                                         BBO No. 628855
                                         100 Grandview Road, Suite 304
                                         Braintree, MA 02184
                                         Tel: (781) 843-3585
                                         Fax: (781) 780-7552
                                         pculhane@comcast.net
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                           ASSENTED-TO BY:
                           Toyota Motor Credit Corp., Inc.,
                           By its attorney,

                           / s / Jason W. Canne___________________
                           Jason W. Canne, Esq.
                           BBO No. 688275
                           Wilson, Elser, Moskowitz, Edelman & Dicker
                           LLP
                           260 Franklin Street, 14th Floor
                           Boston, MA 02110
                           Tel: (617) 422-5397
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                             CERTIFICATE OF SERVICE

        I Patrick M. Culhane, as attorney for the Plaintiffs: Patricia Aruda, Jillian Aruda
and Jessica Aruda, hereby certify that I served the foregoing Stipulation of Dismissal
electronically and by First Class US Mail, postage pre-paid to the following:

                                   Jason W. Canne, Esq.
                    As Attorney for Toyota Motor Credit Corporation
                    Wilson, Elser, Moskowitz, Edelman & Dicker LLP
                              260 Franklin Street, 14th Floor
                                    Boston, MA 02110

                     And by First Class US Mail Postage Pre-paid to:

                              Evergreen Auto Recovery Inc.
                                    132 B Shun Pike
                                     PO Box 19171
                                   Johnston, RI 02919

December 7 , 2016                             / s / Patrick M. Culhane
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